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UN|TED STATES D|STR|CT COURT, FOR THE D|STR|CT OF UTAH
CENTRAL D|V|S|ON

 

ROBERTA V|LLANUEVA, individually and
as personal representative of the estate of
FRED V|LLANUEVA, deceased; |VlARK COMPLA|NT FOR PERSONAL
FREDRICK V|LLANUEVA, N|ATTHEW lNJURY AND WRONGFUL DEATH
LEE V|LLANUEVA, N|COLE LYNN
VlLLANUEVA, and RAY|VlOND IV||CHAEL REQUEST FOR JURY DEMAND
V|LLANUEVA,

P|aintiffs,
VS. Judge Ted Stewart

DECK TYPE: Civil @ 14 34 46

CEssNA AlRCRAFT COMPANY a DATE STA”P‘ °7/21/2°°5 * =

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corporation and GOODRlCH CASE "U”BER 1 °5C
CORPORAT|ON,

Defendants.

 

 

 

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NOW CO|V|E the plaintiffs by and through undersigned counse|, and complaining

against the defendants, and each of them, state as follows:
JUR|SD|CT|ON AND VENUE

1. This is an action for damages arising from the personal injuries and
wrongful death suffered by Fred Vi|lanueva while aboard a Cessna l\i|ode| 208B aircraft
that crashed into the ground near Bellevue, idaho on December 6, 2004.

2. Subject matterjurisdiction is proper in this court pursuant to 28 U.S.C.
§1332(a) as this is an action wherein:

(a) the decedent, Fred Vi|lanueva, at the time of his death was a citizen of the
State of Utahl and Roberta Vi|lanueva, individually and in her
representative capacity on behalf of the decedents estate pursuant to 28
U.S.C. §‘1332(0)(2) is a citizen of the State of Utah;

(b) the plaintiffs, Nlark Fredrick Vi|lanueva, Nicole Lynn Vil|anueva and
Raymond Nlichaei Vi|lanueva, and each of them, are citizens ofthe State
of California; and the plaintiff, lV|atthew Lee Vil|anueva is a citizen of the
State of Arizona;

(c) The defendant, Cessna Aircraft Company is a corporation organized and
existing under the laws of the State of Kansas with its principal place of
business in Kansas;

(d) the defendant, Goodrich Corporation, is a corporation organized and
existing under the laws of the State of New York with its principal place of

business in the State of North Caro|ina; and

(e) the amount in controversy exceeds the sum of seventy-five thousand U.S.
dollars ($75,000.00), exclusive of interest and costs.

3. Venue in the District of Utah satisfies the requirements of 28 U.S.C.
§1391(a), in that one or more ofthe defendants reside in this judicial district and a

substantial part of the events or omissions giving rise to the claim occurred in this

 

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judicial district, and/or one or more of the defendants are subject to personal jurisdiction
in this district and there is no other district in which the action may be otherwise
brought
GENERAL CLA|MS

4. The plaintiff, Roberta Vi|lanueval is the surviving spouse of Fred Vi|lanueva,
deceased, and is the personal representative of the estate of Fred Vi|lanueva pursuant to
order ofthe District Court, Second Judicial District ofthe State of Utah. The plaintiffs, lvlark
Fredrick Vi|lanueva, Matthew Lee Vi|lanueva, Nico|e Lynn Vi|lanueva and Raymond
l\ilichae| Vi|lanueva, are the natural children and heirs of Fred Vi|lanueva, deceased

5. The Cessna Aircraft Company is a corporation organized and existing under
the laws of the State of Kansas and is engaged in the business of placing certain products
into the stream of commerce With the reasonable expectation of them reaching the State
of Utah and did so, in fact, on multiple occasions and in multiple transactions place into the
stream of commerce certain products which were physically present within the State of
Utah on December 6, 2004.

6. On December 6, 2004 and at all times herein relevant, the Cessna Aircraft
Company did and continues to do business in the State of Utah.

7. The Goodrich Corporation is a corporation organized and existing under
the laws ofthe State of New York, doing business in all 50 states, including the State of
Utah, where the Goodrich Corporation transacts substantial systematic and continuous

business.

 

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8. On December 6, 2004 and at all times herein relevant, the Goodrich
Corporation did and continues to do business in the State of Utah.

9. |n or about the year 2000, the Cessna Aircraft Company manufactured,
assembled and sold a certain Cessna model 208B aircraft known as a “Caravan"
bearing airframe serial number 20830866 (hereinafter “Accident Aircraft”).

10. The Accident Aircraft was manufactured pursuant to the design of the
Cessna Aircraft Company and by authority from the U.S. Federa| Aviation
Administration under Type Certificate A37CE.

11. Subsequent to its original sale of the Accident Aircraft, the Cessna Aircraft
Company continued to provide customer support for the Accident Aircraft, including
Alert Service Bulletins, Service Bu||etins, Manua| revisions and other like customer
support services

12. The Goodrich Corporation designed and manufactured an aircraft deicing
system Which was incorporated on the Accident Aircraft and included pneumatic deicing
boots on the inboard and outboard wing, horizontal stabilizer, struts, vertical fin, fairing
and cargo box sections of the Accident Aircraft.

13. At all times herein relevant, the Accident Aircraft was certified by the
Federal Aviation Administration to fly in known icing conditions

14. On December 6, 2004l the Accident Aircraft was being operated under the
provisions of 14 C.F.R. Part 135 as an on-demand cargo flight from Sa|t Lake City,

Utah destined for Friedman l\ilemorial Airport (SUN), Hailey, |daho.

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15. On December 6, 2004, Fred Vi|lanueva, a fully qualified pilot1 was aboard
the Accident Aircraft for its flight from Salt Lake City to SUN.

18. On December 6, 2004 the pilot of a Cessna Citation 525 that flew the
same approach to SUN as the Accident Aircraft reported picking up moderate mixed ice
on the wings and windshield of the Cessna Citation.

17. On December 6, 2004 at approximately 10:20 a.m. lVlountain Standard
Time, the Accident Aircraft crashed onto flat open terrain located approximately seven
miles south of Be|levue, idaho and some nine miles short of the runway at SUN.

PRODUCTS LlAB|L|TY CLA|MS
AGA|NST CESSNA AlRCRAFT COMPANY

18. The allegations of the preceding paragraphs are incorporated by reference
as if fully rewritten herein.

19. At the time that the Accident Aircraft was placed into the stream of commerce
by the defendant Cessna Aircraft Company, it Was defective and/or unreasonably
dangerous in violation of the applicable laws in many respectsl including but not limited to
one or of the following particulars:

(a) The airfoil selected in the design of the aircraft was known to have a
dangerous propensity for degraded performance in icing and frost conditions;

(b) The aircraft deicing system of the Cessna 2088 was not able to adequately
shed ice accumulating on the aircraft;

(c) The deicing system of the Cessna 2085 did not cover a sufficient surface
area of the wings and horizontal tail to provide the aircraft with protection
from ice accumulating on its surfaces;

 

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(d) The deicing system and the design of the airfoil on the Cessna 2088 aircraft
created an ice ridge aft of the deicing boots that dangerously degraded the
performance of the aircraft;

(e) The aircraft failed to incorporate proper and adequate ice sensors and ice
detection illumination in and on the aircraft; and

(f) The flight manual and other manuals containing the instructions on use
and warnings relative to the aircraft failed to contain proper and sufficient
instructions and warnings reiating to the operation of the Accident Aircraft
and meteoro|ogica| conditions conducive to icing.

20. The defective nature of the Cessna aircraft, and conduct of the Cessna
Aircraft Company individually and/or by and through its agents, employees or
representatives in the design, formulationl production, creation1 construction, supply,
assembly or sale of the Accident Aircraft were direct and proximate causes of the death
of Fred Vi|lanueva resulting in the injury, pain and suffering, mental anguish and death of
plaintiffs’ decedent, Fred Vi|lanueva, and resulting in substantial injuries and damages to
plaintiffs

WHEREFORE, the plaintiffs, Roberta Vi|lanueva, individually and as personal
representative of the estate of Fred Vi|lanueva, deceased, lVlark Frederick Vi|lanueva,
Nlatthew Lee Vi|lanueva, Nicole Lynn Vi|lanueva, and Raymond lVlichae| Vi|lanueva, and
each of them, pray that judgment be entered in their favor and against the defendant,

Cessna Aircraft Company, in an amount representing full compensatory damages for the

losses suffered together With interestl attorney’s fees and the costs of this action.

 

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PRODUCTS LlAB|L|TY CLA|MS
AGA|NST THE DEFENDANT GOODR|CH CORPORAT|ON

The allegations of the preceding paragraphs are incorporated by reference

as if fully rewritten herein.

22.

At the time thatthe AccidentAircraft was placed into the stream of commerce

by the Cessna Aircraft Company, the pneumatic deicing system manufactured by the

defendant Goodrich Corporationl was defective and/or unreasonably dangerous in violation

ofthe applicable laws in many respects, including but not limited to one or of the following

particulars:

(a)

(b)

(C)

(d)

(e)

The airfoil selected in the design of the aircraft was known to have a
dangerous propensity for degraded performance in icing and frost conditions;

The aircraft deicing system of the Cessna 208B manufactured by Goodrich
Corporation was not able to adequately shed ice accumulating on the aircraft;

The deicing system of the Cessna 2088 manufactured by Goodrich
Corporation did not cover a sufficient surface area of the wings and
horizontal tail to provide the aircraft with protection from ice accumulating on
its surfaces;

The deicing system and the design ofthe airfoil on the Cessna 2088 aircraft
created an ice ridge aft of the deicing boots that dangerously degraded the
performance of the aircraft;

The aircraft failed to incorporate proper and adequate ice sensors and ice
detection illumination in and on the aircraft; and

The flight manual and other manuals containing the instructions on use and
warnings relative to the aircraft failed to contain proper and sufficient
instructions and warnings relating to the operation of the Accident Aircraft
and meteorological conditions conducive to icing.

 

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23. The defective nature of the Cessna aircraft, and conduct of the Goodrich
Corporation individually and/or by and through its agents, employees or representatives
in the design, formulation, production, creationl construction, supp|y, assembly or sale of
the Accident Aircraft were direct and proximate causes of the death of Fred Vi|lanueva
resulting in the injury, pain and suffering, mental anguish and death of plaintiffs’ decedent,
Fred Vi|lanueva, and resulting in substantial injuries and damages to plaintiffs

Wl-IEREFORE, the plaintiffs, Roberta Vi|lanueva, individually and as personal
representative of the estate of Fred Vii|anueva, deceased, lVlark Frederick Vi|lanueva,
|V|atthew Lee Vi|lanueva, Nicole Lynn Vi|lanueval and Raymond |Vlichael Vi|lanueva, and
each of them, pray that judgment be entered in their favor and against the defendant,
Goodrich Corporation, in an amount representing full compensatory damages for the
losses suffered together with interest, attorney’s fees and the costs of this action.

NEGL|GENCE OF THE CESSNA AlRCRAFT COMPAN\’
AND GOODR|CH CORPORAT|ON

24. The allegations of the preceding paragraphs are incorporated by reference
as if fully rewritten herein.

25. That at all times herein relevant, it was the duty of the defendants Cessna
Aircraft Company and Goodrich Corporation, to exercise reasonable care in the design,
manufacture, assembly, sale and/or distribution of the aforesaid aircraft so as not to cause
injury to or the death of members of the public, inclusive of the plaintiffs’ decedent, and in
accordance With sound engineering principles and the minimal design requirements of the

Federal Air Regulations as set forth in 14 C.F.R. Part 23. Each defendant had certain

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additional duties relative to the design, manufacture, testing, and instructions as to use and
Warnings, Which were pertinent to the subject Cessna 208B aircraft

26. Not withstanding the aforesaid duties the defendants Cessna Aircraft
Company and Goodrich Corporation breached their duty or duties to members of the
public, inclusive of plaintist decedent

27. As a direct and proximate result of each of the defendants’ breach of its duty
or duties to Fred Vii|anueva, the plaintist decedent received injuries which caused him
pain and suffering and mental anguish until the time of his death.

WHEREFORE, the plaintiffs, Roberta Vi|lanueva, individually and as personal
representative of the estate of Fred Vi|lanueval deceased, lVlark Frederick Vii|anueva,
Matthew Lee Vi|lanueva, Nicole Lynn Vi|lanueva, and Raymond |Vlichae| Vi|lanueva, and
each of them, pray that judgment be entered in their favor and against the defendants
Cessna Aircraft Company and Goodrich Corporation, and each of them, in an amount
representing full compensatory damages for the losses suffered together with interest,
attorney’s fees and the costs of this action.

CESSNA AlRCRAFT COMPANY AND GOODR|CH CORPORATION
BREACH OF WARRANTY

28. The allegations of the preceding paragraphs are incorporated by reference
as if fully rewritten herein.
29. That before and at the time of the sale and delivery of the aforesaid aircraft,

the defendants Cessna Aircraft Company and Goodrich Corporation made certain

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expressed and implied warranties as to said aircraft and its pneumatic deicing systems that
it was fit for its intended purpose and not unreasonably dangerous and free from defects

30. The plaintist decedent, by way ofhis operation and reliance upon the aircraft
and its pneumatic deicing systems was a beneficiary of the warranties extended by the
defendants Cessna Aircraft Company and Goodrich ‘Corporation.

31. At the time that the Accident Aircraft, the Cessna 2088 was sold and
delivered by defendant Cessna Aircraft Companyl the defendants collectively breached
their warranties that the aircraft was fit for its intended purpose, not unreasonably
dangerous and free from defects

32. That as a direct and proximate result of the foregoing breach of warranties,
the aforesaid aircraft was forced to crash into the ground south of Bel|evue, idaho causing
plaintiffs decedent to sustain injuries Which caused him pain and suffering and mental
anguish until the time of his death.

WHEREFORE, the plaintiffs Roberta Vi|lanueva, individually and as personal
representative of the estate of Fred Vi|lanueva, deceased, N|ark Frederick Vi|lanueva,
lVlatthew Lee Vi|lanueva, Nicole Lynn Vi|lanueval and Raymond l\ilichael Vi|lanueva, and
each of them, pray that judgment be entered in their favor and against the defendants
Cessna Aircraft Company and Goodrich Corporation, and each of theml in an amount
representing full compensatory damages for the losses suffered together with interest,

attorney’s fees and the costs of this action.

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CLA|MS PURSUANT TO APPL|CABLE WRONGFUL DEATH
AND SURV|VAL STATUTES_

33. The allegations of the preceding paragraphs are incorporated by reference
as if fully rewritten herein.

34. P|aintiff Roberta Vi|lanueva acting individual|y, and in her representative
capacity as the personal representative of the decedent’s estate and on behalf of all the
surviving heirs or next of kin of the decedent brings these causes of action pursuant to the
wrongful death statutes and survival statutes of the respective applicable states

35. Prior to his death, Fred Vi|lanueva was caused to suffer multiple and diverse
injuries of both a personal and pecuniary nature, inclusive of conscious pain and suffering
and severe terror prior and subsequent to contact with the ground.

36. Further, by reason of the survival of decedents heirs or next of kin, each of
them has sustained substantial personal and pecuniary damages including but not limited
to, loss of society and companionship, loss of goods and services loss of support, moral
damages and the loss of decedent’s earning capacity.

37. These actions on behalf of decedent are being brought pursuant to the
wrongful death statutes of the respective and applicable states and/or other applicable
laws

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38. As a result of all of the foregoing, the defendants Cessna Aircraft Company

and Goodrich Corporation are liable to the plaintiff for compensatory damages in an

amount to be determined later in excess of the amount in controversy as required by law.

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WHEREFORE, the plaintiffs Roberta Vi|lanueva, individually and as personal
representative of the estate of Fred Vi|lanueval deceased, l\ilark Frederick Vi|lanueva,
lVlatthew Lee Vi|lanueva, Nicole Lynn Vi|lanueva, and Raymond lVlichael Vi|lanueva, and
each of them, pray that judgment be entered in their favor and against the defendants
Cessna Aircraft Company and Goodrich Corporation, and each of them, in an amount
representing full compensatory damages for the losses suffered together with interest,
attorney’s fees and the costs of this action.

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P|aintiffs hereby demand|a trial by jury on all issues tryable by a jury.

   

DATED this 2 z §ay ofJuly, 200

 

P|aintiffs’ Address:

1651 West Trailside Road
Farmington, UT 84025

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CIVIL COVER SHEET

The JS 44 civil cover sheet and misinformation contained herein neither re face no_r supplement the filing and service of pleadings or other §apers as re uircd by law, except as provided
by local rules of court This l`orm, approved by the Judicial Coriference o the Umted States m September 1974, is required for the use oft e Clerk of ourt for the purpose of initiating
the civil docket sheet (s£tz iNsTRUCTioNS ON THE REVERSE C)F THE FoRivi,)

i. (a) PLAiNTlFFS

Robert Vi|lanueva, individually and as personal representative of the
estate of Fred Villanueva

 

DEFENDANTS F'l
Cessna Aircraft Company and Goo‘ui&l Q¢SPFSFEPCOUR 1

County of Residence ofFirst Listed Defenc§@g$ §§ lC§lia County
(1N U.S` PLAINTIFF CASE 2: 3 l

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LAND invoLon, l- ii ;' ':»
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Davis
(b) County of Residence of First Listed Plaintii`i`

{E.XCEPT IN U.S. FLAINTIFF CASES)

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

(c) Attomey`s (Firm Name, Address, and Telephone Number) Attol'neYS (lfKHOWH) BY-'______
Colin P. King; Dewsnup, King & OISen; 36 S. State Street, 2020 Unknown DEPUYY [‘_j:"§“»;??----_.
Benef`icial Life Tower, SLC, UT 84111; (801) 533-0400 `
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Cdt£ tp?|l__l.§{€*$gl§[taéu`;e under which you are filing (Do not cite jurisdictional statutes unless dlversity):

 

VI. CAUSE OF ACTION

Brief description of cause:
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VII. REQUESTED IN
COMPLAlNT:

virr. RELATED CASE(s)

IF ANY

(See instructions):

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DEMAND$ _ _
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CHECK YES only if` demanded in complaint

JURY DEMAND:

DOCKET NUMBER n/a

 

13 Yes l:l No

 

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Judge Ted Stewart
DECK TYPE: Civil

DA'I`E STA.MP: 07/21/2005 @ 14:34:46

CASE HUMBER:

1:05CV00097 TS

